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6
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7    COUNTY OF FRESNO
8
9                                  UNITED STATES DISTRICT COURT

10                  EASTERN DISTRICT OF CALIFORNIA – FRESNO DIVISION

11
     GENERAL SECURITY SERVICES                       Case No. 1:11-CV-00724 MJS
12   CORPORATION,

13                                  Plaintiff,       STIPULATED PROTECTIVE ORDER
14                          v.
15
16   COUNTY OF FRESNO,

17                                  Defendant.

18
             IT IS HEREBY STIPULATED by, among, and between defendant COUNTY OF
19
     FRESNO (hereinafter “Defendant”) and plaintiff GENERAL SECURITY SERVICES
20
     CORPORATION (hereinafter “Plaintiff”), that certain documents sought by Plaintiff
21
     pursuant to its Request for Production of Documents, Set No. 1, contain information
22
     related to Juvenile Court proceedings, and as such will be produced subject the
23
     following Protective Order:
24
             1.      The disclosed documents designated as “confidential” shall be used solely
25
     in connection with the civil case entitled General Security Services Corporation v.
26
     County of Fresno, United States District Court Case No. 1:11-CV-00724 MJS (Eastern
27
     District of California), and in the preparation and trial of this action, and any related
28
     proceedings.      No waiver of any objection to the admissibility of the documents subject
     Stipulated Protective Order                 1              Case No. 1:11 CV 00724 MJS
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1    to the instant protective order should be implied. Defendant also is not waiving any
2    objection previously set forth to the aforementioned Request for Production of
3    Documents.
4            2.      The “confidential” documents and materials are identified as follows:
5                    a.      Probation Department “face sheets” for juvenile probationers
6    identified by Plaintiff in their claim for reimbursement under the subject contract;
7                    b.      All portions of the Probation Department’s chronology documents
8    for each juvenile probationer identified by Plaintiff in their claim for reimbursement under
9    the subject contract related to electronic monitoring;
10                   c.      Documents containing electronic monitoring information for each
11   juvenile probationer identified by Plaintiff in their claim for reimbursement under the
12   subject contract related to electronic monitoring;
13           3.      Documents or materials designated under this Stipulated Protective Order
14   may only be disclosed to the following persons:
15                   a)      Barak Vaughn and Kelly Everett, Plaintiff counsel for Plaintiff, and
16   all necessary person of Plaintiff;
17                   b)      Paralegal, clerical, and secretarial personnel regularly employed by
18   counsel referred to in subpart (a) directly above, including stenographic deposition
19   reporters or videographers retained in connection with this action;
20                   c)      Court personnel including stenographic reporters or videographers
21   engaged in proceedings as are necessarily incidental to the preparation for the trial of
22   the civil action;
23                   d)      Any expert, consultant, or investigator retained in connection with
24   this action;
25                   e)      The finder of fact at the time of trial, subject to the court’s rulings on
26   in limine motions and objections of counsel.
27           4.      Each recipient of documents or materials identified above, shall be
28   provided with a copy of this Stipulated Protective Order, which he or she shall read prior

     Stipulated Protective Order                    2               Case No. 1:11 CV 00724 MJS
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1    to the disclosure of the documents or material. Upon reading this Stipulated Protective
2    Order, such person shall acknowledge in writing that he or she has read this Stipulated
3    Protective Order and shall abide by its terms. Such person must also consent to be
4    subject to the jurisdiction of the United States District Court, Eastern District of
5    California, with respect to any proceeding related to the enforcement of this Stipulated
6    Protective Order, including, without limitation, any proceeding for contempt. Provisions
7    of this Stipulated Protective order, insofar as the restrict disclosure and use of the
8    material, shall be in effect until further order of this Court. Plaintiff’s counsel shall be
9    responsible for internally tracking the identities of those individuals to whom copies of
10   the documents or materials are given by Plaintiff.
11           5.      The production of documents and materials indentified above is without
12   prejudice to the right of any party to oppose the admissibility of the designated
13   information.
14           6.      Copies of “Confidential” Documents
15           The following procedures shall be utilized by the parties in production of
16   documents and materials designated “confidential” and identified above:
17                   a)      Plaintiff’s counsel shall receive one copy of the documents or
18   materials designated as “confidential” above.
19                   b)      Plaintiff’s counsel shall not copy, duplicate, furnish, disclose, or
20   otherwise divulge any information contained in the “confidential” documents to any
21   source except those individuals to whom disclosure is permitted pursuant to paragraph
22   3, supra, without further order of the Court or authorization from counsel for Defendants.
23           7.      Notwithstanding the provisions of paragraph 3 of this Stipulated Protective
24   Order, documents or materials designated as “confidential” and produced pursuant to
25   this Stipulated Protective Order may not be delivered, exhibited, or otherwise disclosed
26   to any reporter, writer, or employee of any trade publication, newspaper, magazine, or
27   other media organization.
28

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1            8.      Should any documents or materials designated “confidential” and
2    identified above be disclosed, through inadvertence or otherwise, to any person or entity
3    not authorized to receive it under this Stipulated Protective Order, the disclosing
4    person(s) shall promptly:
5                    a)      Inform counsel for the defendants of the recipient(s) and the
6    circumstances of the disclosure, and
7                    b)      Use best efforts to bind the recipient(s) to the terms of the
8    Protective Order.        Documents shall not lose their confidential status due to an
9    unauthorized disclosure.
10           9.      After the conclusion of this litigation, all documents and materials, in
11   whatever form stored or reproduced, designated “confidential” and identified above will
12   remain confidential. All documents and materials produced pursuant to this Stipulated
13   Protective Order shall be returned to counsel for defendants in a manner in which
14   counsel will be able to reasonably verify that all documents were returned.
15           All parties shall also ensure that all persons to whom documents or materials
16   designated “confidential” and identified above were disclosed shall be returned to
17   counsel for the defendants. The conclusion of this litigation means a termination of the
18   case following trial, settlement, dispositive motion, or the exhaustion of all appeals.
19           10.     No later than 30 days after settlement or of receiving notice of the entry of
20   an order, judgment, or decree terminating this action, or the exhaustion of all appeals,
21   all persons having received the documents or materials designated “confidential” and
22   identified above shall return said documents to counsel for the defendants.
23           11.     If any party appeals a jury verdict, or order terminating the case, Plaintiff’s
24   counsel shall retain possession of all documents or materials designated “confidential”
25   pending final outcome of the appeal after which they shall be returned to counsel for the
26   defendants.
27           12.     This Stipulated Protective Order shall remain in full force and effect and
28   shall continue to be binding on all parties and affected persons after this litigation

     Stipulated Protective Order                  4               Case No. 1:11 CV 00724 MJS
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1    terminates, subject to any subsequent modifications of this Stipulated Protective Order
2    for good cause shown by this Court, or any Court having jurisdiction of an appeal of this
3    action.                     After this action terminates, any party may seek to modify or dissolve this
4    Stipulated Protective Order by Court order for good cause shown or by the parties’
5    stipulation.
6                              13.   The Court shall retain jurisdiction, even after this lawsuit terminates, (a) to
7    make such amendments, modifications, and additions to this Protective Order as it may
8    from time to time deem appropriate upon good cause shown and (b) to adjudicate any
9    dispute respecting improper use or disclosure of “confidential” material.
10   IT IS SO STIPULATED.
11   Dated: April 23, 2012
12                                                                      KEVIN B. BRIGGS
                                                                        County Counsel
13
14                                                               By:    /s/ Michael Linden
15                                                                      Michael R. Linden, Deputy
                                                                        Attorneys for Defendant
16
     Dated: April 16, 2012
17
                                                                        VAUGHN LEGAL GROUP
18
19
                                                                 By:    /s/ Kelly Everett
20                                                                      Kelly Everett
21                                                                      Attorney for Plaintiff

22                                                        ORDER

23
24
     Signature-END:
     DEAC_




25   ci4d6

26   IT IS SO ORDERED.
27
28                          Dated:   April 20, 2012                        /s/   Michael J. Seng
     DEAC_Signature-END:
                                                                       UNITED STATES MAGISTRATE JUDGE
     Stipulated Protective Order                                  5               Case No. 1:11 CV 00724 MJS
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     Stipulated Protective Order         6           Case No. 1:11 CV 00724 MJS
